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13 Additional counsel on signature page

14                                 UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16

17   JOSEPH F. MARKETTE, on Behalf of                   Case No. 15-CV-3425 (HSG)
     Himself and All Others Similarly Situated,
18                                                      STIPULATION AND ORDER OF
                                                        DISMISSAL PURSUANT TO FEDERAL
19                        Plaintiff,                    RULE OF CIVIL PROCEDURE
           v.                                           41(a)(1)(A)(ii)
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                                                        CLASS ACTION
     XOMA CORPORATION, JOHN W.
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     VARIAN, and PAUL D. RUBIN, et. al.,
22                   Defendants.

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                                       JOINT STIPULATION OF DISMISSAL
28                                              15-CV-3425 (HSG)
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 1          WHEREAS, on July 24, 2015, Joseph F. Markette filed the above-captioned action on

 2 behalf of himself and the public stockholders of XOMA Corporation (“XOMA”) against XOMA,

 3 John W. Varian, and Paul D. Rubin (ECF No. 1);

 4          WHEREAS, on September 22, 2015, plaintiff Joseph Tarzia filed a Motion for

 5 Appointment as Lead Plaintiff and Approval of Faruqi & Faruqi LLP as Lead Counsel (ECF No.

 6 11);

 7          WHEREAS, on May 13, 2016, the Court appointed Joseph Tarzia as Lead Plaintiff and

 8 approved Lead Plaintiff’s selection of Faruqi & Faruqi LLP as Lead Counsel (ECF No. 77);

 9          WHEREAS, on July 8, 2016, Plaintiff filed an Amended Class Action Complaint (ECF No.

10 87), adding Kelvin Neu as a defendant (collectively with XOMA, Mr. Varian, and Dr. Rubin

11 “Defendants,” and together with the Plaintiff, the “Parties”);

12          WHEREAS, no class has been certified;

13          WHEREAS, on September 28, 2017, the Court granted Defendants’ Motion to Dismiss the

14 Amended Class Action Complaint without prejudice and entered an order requiring Plaintiff to file

15 and serve an amended class action complaint by October 26, 2017 (ECF No. 113);

16          WHEREAS, after conducting a thorough investigation, Plaintiff has decided not to file an

17 amended class action complaint and to voluntarily dismiss the above-captioned action, with

18 prejudice as to Plaintiff and his individual claims and without prejudice to the unnamed class

19 members, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure;

20          WHEREAS, no party asserts or contends that any of the Parties or their respective counsel

21 have at any time failed to comply with Rule 11 of the Federal Rules of Civil Procedure;

22          WHEREAS, the Parties agree that each Party shall bear its own costs, attorneys’ fees, and

23 expenses and that no costs, sanctions, claims, or attorneys’ fees arising in or from this action will

24 be pursued by any of the Parties.

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                                       JOINT STIPULATION OF DISMISSAL
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 1          THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

 2 Parties, subject to the Court’s approval, as follows:

 3          1. Plaintiff voluntarily dismisses the above-captioned action with prejudice as to his

 4             individual claims and without prejudice as to the unnamed class members pursuant to

 5             Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure;

 6          2. None of the Parties or their respective counsel have at any time failed to comply with

 7             Rule 11 of the Federal Rules of Civil Procedure; and

 8          3. The Parties shall each bear their own costs, attorneys’ fees, and expenses and that no

 9             costs, sanctions, claims, or attorneys’ fees arising in or from this action will be pursued

10             by any of the parties.

11 Dated: October 24, 2017                                 FARUQI & FARUQI LLP

12                                                         By: /s/ Richard W. Gonnello
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16
                                                           Attorneys for Lead Plaintiff Joseph Tarzia
17

18 Dated: October 24, 2017                                 COOLEY LLP
19                                                         By: /s/ Jessica Valenzuela Santamaria
                                                           Jessica Valenzuela Santamaria (SBN 220934)
20

21
                                                           John C. Dwyer
22                                                         Jessica Valenzuela Santamaria
                                                           Jessie Simpson Lagoy
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                                                           Brett De Jarnette
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                                        JOINT STIPULATION OF DISMISSAL
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                                                          Attorneys for Defendants XOMA Corporation,
 1                                                        John W. Varian, Paul D. Rubin, and Kelvin
                                                          Neu
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 4                                         ATTESTATION
 5          I, Richard W. Gonnello, hereby attest that the other signatories listed, on whose behalf this
 6 filing is submitted, concur in the filing’s content and have authorized the filing.

 7 Dated: October 24, 2017
                                                                  /s/ Richard W. Gonnello
 8
                                                                      Richard W. Gonnello
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     PURSUANT TO THE STIPULATION, IT IS SO ORDERED.
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     Date: October 25, 2017                ____________________________________
18                                         HONORABLE HAYWOOD S. GILLIAM, JR.
                                           UNITED STATES DISTRICT JUDGE
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                                       JOINT STIPULATION OF DISMISSAL
28                                              15-CV-3425 (HSG)
